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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT CINCINNATI

DARRYL MITCHELL,                    )
                                    )                    CIVIL ACTION FILE
      Plaintiff,                    )
v.                                  )                    NO. 1:20-cv-00363-DRC
                                    )
FUJITEC AMERICA, INC., FUJITEC CO., )
LTD., GARY KRUPP and SHAWNEZ        )
MCKENZIE,                           )
                                    )
      Defendants.                   )
                                    )

                ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS
              FUJITEC AMERICA, INC., FUJITEC CO., LTD AND GARY KRUPP

           COME NOW, Defendants Fujitec America, Inc., Fujitec Co., Ltd, and Gary Krupp

(hereinafter the Fujitec Defendants), and file this, their Answer to Plaintiff’s First Amended

Complaint (hereinafter “Complaint”), and by way of said Answer respectfully show the following:

                                           FIRST DEFENSE

           Plaintiff’s Complaint and each of its causes of action fail to state a claim upon which relief

can be granted.

                                          SECOND DEFENSE

           Some or all of Plaintiff’s claims may be barred by the applicable statute of limitations,

including the failure to file the instant lawsuit within the time period required by the applicable

statute.

                                           THIRD DEFENSE

           Plaintiff’s damages for his statutory claims are limited to those remedies and those amounts

provided for by the statute.



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                                       FOURTH DEFENSE

        Even if any adverse actions were taken against the Plaintiff for reasons related to Plaintiff’s

protected class status or any exercise by Plaintiff of protected rights, Plaintiff would have been

subject to adverse employment actions or otherwise for reasons unrelated to any protected class

status or activities, including after-acquired evidence.

                                         FIFTH DEFENSE

        Any adverse action taken against Plaintiff was done so in good faith without malice or

reckless indifference to Plaintiff’s protected rights.

                                         SIXTH DEFENSE

        All claims of the Plaintiff brought pursuant to Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e et seq., are barred to the extent that they were never made the subject of a charge

of discrimination within the time required by law with the Equal Employment Opportunity

Commission or because the claims are not within the scope of any charge of discrimination filed

by Plaintiff.

                                      SEVENTH DEFENSE

        Even if Plaintiff was subject to unlawful conduct based on Plaintiff’s protected class status,

Defendant exercised reasonable care to prevent and correct the actions which support Plaintiff’s

claim and Plaintiff unreasonably failed to avail himself of preventive or corrective opportunities

or to avoid harm otherwise.

                                       EIGHTH DEFENSE

        Even if Defendant paid Plaintiffs wages at a rate less than the rate at which Defendant paid

employees of the opposite sex for equal work for jobs which require equal skill, effort, and




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responsibility, and which are performed under similar working conditions, such payment was not

based upon discrimination and was based upon legitimate, non-discriminatory reasons.

                                          NINTH DEFENSE

          The factor of race provided no basis for any differential between the wages paid to Plaintiff

and the wages paid to any employees of the opposite race performing equal work for jobs which

require equal skill, effort, and responsibility, and which are performed under similar working

conditions.

                                         TENTH DEFENSE

          No decision-maker of Defendant, including any decision-maker in middle or upper

management, was influenced by race bias.

                                       ELEVENTH DEFENSE

          Plaintiff has failed to mitigate damages as required by law.

                                       TWELFTH DEFENSE

          Plaintiff’s claims are barred by the doctrines of absolute and qualified privilege provided

by law.

                                     THIRTEENTH DEFENSE

          Plaintiff’s claims are barred by the doctrine of truth and by justification provided for by

law.

                                     FOURTEENTH DEFENSE

          Plaintiffs’ Complaint alleges communications that, if made, are privileged for the reason

that such communications were statements made in good faith in the performance of a legal or

moral private duty, and such communications were statements made with a good faith intent on

the part of the speaker to protect his or her interest in a matter in which it is concerned.


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                                       FIFTEENTH DEFENSE

        Plaintiff’s claims may be barred, in whole or in part, by the statute of frauds and/or the

parol evidence rule.

                                       SIXTEENTH DEFENSE

        Some or all of Plaintiff’s claims are barred by the doctrines of failure of consideration

and/or estoppel.

                                    SEVENTEENTH DEFENSE

        Plaintiff has unclean hands.

                                     EIGHTEENTH DEFENSE

        Defendant Krupp, to the extent sued in his individual capacity, is not a proper party to some

or all of the claims pled in this civil action.

                                     NINETEENTH DEFENSE

        The Fujitec Defendants reserve the right to assert any additional affirmative defenses

allowed by Rule 8 depending upon any evidence discovered in pursuit of this litigation.

                                      TWENTIETH DEFENSE

        For answer to the respective paragraphs of the First Amended Complaint (hereinafter

referred to as “the Complaint”), these Defendants show as follows:

                                                  1.

        The Fujitec Defendants admit that jurisdiction is proper in this Court as to the federal

claims and deny the remaining allegations pled in paragraph 1 of the Complaint.

                                                  2.

        The Fujitec Defendants admit that venue is proper in this Court as to the federal claims and

deny the remaining allegations pled in paragraph 2 of the Complaint.


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                                                3.

       The Fujitec Defendants are without knowledge or information sufficient to admit or deny

the allegations pled in paragraph 3 of the Complaint.

                                                4.

       Admitted.

                                                5.

       Denied.

                                                6.

       Denied.

                                                7.

       Denied.

                                                8.

       Denied.

                                                9.

       Denied.

                                               10.

       Admitted.

                                               11.

       The Fujitec Defendants are without knowledge or information sufficient to admit or deny

the allegations pled in paragraph 11 of the Complaint.




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                                               12.

       The Fujitec Defendants note that several of the allegations in paragraph 12 are not directed

to them and do not require a response from them. The Fujitec Defendants admit that Defendant

Krupp is an employee of Fujitec America, Inc., and denies the remaining allegations pled in

paragraph 12 of the Complaint.

                                               13.

       The Fujitec Defendants incorporate by reference their responses to paragraphs 1-12 of this

Answer as though fully set forth herein.

                                               14.

       The Fujitec Defendants are without knowledge or information sufficient to admit or deny

the allegations pled in paragraph 14 of the Complaint.

                                               15.

       The Fujitec Defendants admit that Plaintiff served as General Counsel for Fujitec, and deny

the remaining allegations pled in paragraph 15 of the Complaint.

                                               16.

       Denied.

                                               17.

       The Fujitec Defendants admit that Plaintiff served in more than one role over the term of

his employment with Fujitec, and deny the remaining allegations pled in paragraph 17 of the

Complaint.

                                               18.

       Denied.



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                                               19.

       Denied.

                                               20.

       Denied.

                                               21.

       Denied.

                                               22.

       The Fujitec Defendants admit that the CFO position was vacant for a period of time, and

deny the remaining allegations pled in paragraph 22 of the Complaint.

                                               23.

       Denied.

                                               24.

       The Fujitec Defendants deny that Krupp and Smith are or were in any way comparators to

Plaintiff, and as such, deny the allegations pled in paragraph 24 of the Complaint.

                                               25.

       The Fujitec Defendants deny that Krupp and Smith are or were in any way comparators to

Plaintiff, and as such, deny the allegations pled in paragraph 25 of the Complaint.

                                               26.

       The Fujitec Defendants deny that Krupp and Smith are or were in any way comparators to

Plaintiff, and as such, deny the allegations pled in paragraph 26 of the Complaint.

                                               27.

       Denied.



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                                              28.

       The Fujitec Defendants admit that Plaintiff’s salary was appropriate for an individual of

his tenure in his position in the geographic location where he lived and worked, show that his

compensation had the potential to include multiple components, and deny the remaining

allegations pled in paragraph 28 of the Complaint.

                                              29.

       Denied.

                                              30.

       Denied.

                                              31.

       Denied.

                                              32.

       Denied.

                                              33.

       The Fujitec Defendants admit that other employees did receive pay increases in 2019, and

deny the remaining allegations pled in paragraph 33 of the Complaint.

                                              34.

       Denied.

                                              35.

       Denied.




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                                               36.

       The Fujitec Defendants show that that pay decisions are based upon reasonable and non-

discriminatory factors, show that Company records would show the actual pay level for employees

at a particular period of time in 2019, and deny the remaining allegations pled in paragraph 36 of

the Complaint.

                                               37.

       Denied.

                                               38.

       The Fujitec Defendants admit that Plaintiff sought an unwarranted pay raise, and deny the

remaining allegations pled in paragraph 38 of the Complaint.

                                               39.

       The Fujitec Defendants admit that Plaintiff sought an unwarranted pay raise, and deny the

remaining allegations pled in paragraph 39 of the Complaint.

                                               40.

       The Fujitec Defendants admit that Plaintiff sought an unwarranted pay raise, and deny the

remaining allegations pled in paragraph 40 of the Complaint.

                                               41.

       The Fujitec Defendants admit that Plaintiff sought an unwarranted pay raise, and deny the

remaining allegations pled in paragraph 41 of the Complaint.

                                               42.

       Denied.




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                                               43.

       Denied.

                                               44.

       Denied.

                                               45.

       Denied.

                                               46.

       The Fujitec Defendants admit that a complaint was made regarding Plaintiff’s conduct, that

Fujitec America employees Krupp and Yoshimura informed Plaintiff about the complaint against

him that it was investigated, and deny the remaining allegations pled in paragraph 46 of the

Complaint.

                                               47.

       The Fujitec Defendants admit that a complaint was made regarding Plaintiff’s conduct, that

Fujitec America employees Krupp and Yoshimura informed Plaintiff about the complaint against

him that it was investigated, and that Plaintiff later was terminated. The Fujitec Defendants deny

the remaining allegations pled in paragraph 47 of the Complaint.

                                               48.

       The Fujitec Defendants admit that Plaintiff was interviewed by outside counsel Turner,

who is based in Atlanta, Georgia, and deny the remaining allegations pled in paragraph 48 of the

Complaint.




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                                              49.

       The Fujitec Defendants admit that they had policies, including a sexual harassment policy,

deny that these policies were not followed by Fujitec America in any way, and deny the remaining

allegations pled in paragraph 49 of the Complaint.

                                              50.

       The Fujitec Defendants admit that Plaintiff was interviewed by outside counsel Turner, and

admit that Plaintiff was asked about his actions and conduct with respect to Defendant McKenzie,

and deny the remaining allegations pled in paragraph 50 of the Complaint.

                                              51.

       The Fujitec Defendants admit that Plaintiff was interviewed by outside counsel Turner, and

admit that Plaintiff was asked about his actions and conduct with respect to Defendant McKenzie,

and deny the remaining allegations pled in paragraph 51 of the Complaint.

                                              52.

       The Fujitec Defendants admit that Plaintiff was interviewed by outside counsel Turner, and

admit that Plaintiff was asked about his actions and conduct with respect to Defendant McKenzie,

and deny the remaining allegations pled in paragraph 52 of the Complaint.

                                              53.

       The Fujitec Defendants admit that Plaintiff was interviewed by outside counsel Turner, and

admit that Plaintiff was asked about his actions and conduct with respect to Defendant McKenzie,

and deny the remaining allegations pled in paragraph 53 of the Complaint.




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                                                 54.

       The Fujitec Defendants admit that Plaintiff was interviewed by outside counsel Turner, and

admit that Plaintiff was asked about his actions and conduct with respect to Defendant McKenzie,

and deny the remaining allegations pled in paragraph 54 of the Complaint.

                                                 55.

       The Fujitec Defendants admit that Plaintiff was interviewed by outside counsel Turner, and

admit that Plaintiff was asked about his actions and conduct with respect to Defendant McKenzie,

and deny the remaining allegations pled in paragraph 55 of the Complaint.

                                                 56.

       The Fujitec Defendants admit that Plaintiff was placed on leave, and that this was

communicated to Plaintiff by Krupp, and deny the remaining allegations pled in paragraph 56 of

the Complaint.

                                                 57.

       Denied.

                                                 58.

       The Fujitec Defendants admit that Plaintiff repeatedly badgered Krupp to attempt to

interrupt Fujitec’s investigation into Plaintiff’s conduct, and that Plaintiff was not contacted about

the conclusion of the investigation until it was completed. The Fujitec Defendants deny the

remaining allegations pled in paragraph 58 of the Complaint.

                                                 59.

       The Fujitec Defendants admit that Plaintiff repeatedly badgered Krupp to attempt to

interrupt Fujitec’s investigation into Plaintiff’s conduct, and that Plaintiff was not contacted about



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the conclusion of the investigation until it was completed. The Fujitec Defendants deny the

remaining allegations pled in paragraph 59 of the Complaint.

                                                 60.

       The Fujitec Defendants admit that Plaintiff repeatedly badgered Krupp to attempt to

interrupt Fujitec’s investigation into Plaintiff’s conduct, and that Plaintiff was not contacted about

the conclusion of the investigation until it was completed. The Fujitec Defendants deny the

remaining allegations pled in paragraph 60 of the Complaint.

                                                 61.

       Denied.

                                                 62.

       The Fujitec Defendants admit that Plaintiff repeatedly badgered Krupp to attempt to

interrupt Fujitec’s investigation into Plaintiff’s conduct, and that Plaintiff was not contacted about

the conclusion of the investigation until it was completed. The Fujitec Defendants deny the

remaining allegations pled in paragraph 62 of the Complaint.

                                                 63.

       The Fujitec Defendants admit that Plaintiff repeatedly badgered Krupp to attempt to

interrupt Fujitec’s investigation into Plaintiff’s conduct, and that Plaintiff was not contacted about

the conclusion of the investigation until it was completed. The Fujitec Defendants deny the

remaining allegations pled in paragraph 63 of the Complaint.

                                                 64.

       The Fujitec Defendants admit that Plaintiff repeatedly badgered Krupp to attempt to

interrupt Fujitec’s investigation into Plaintiff’s conduct, and that Plaintiff was not contacted about



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the conclusion of the investigation until it was completed. The Fujitec Defendants deny the

remaining allegations pled in paragraph 64 of the Complaint.

                                                 65.

       The Fujitec Defendants admit that Plaintiff repeatedly badgered Krupp to attempt to

interrupt Fujitec’s investigation into Plaintiff’s conduct, and that Plaintiff was not contacted about

the conclusion of the investigation until it was completed. The Fujitec Defendants deny the

remaining allegations pled in paragraph 65 of the Complaint.

                                                 66.

       The Fujitec Defendants admit that, at the conclusion of the investigation into Plaintiff’s

conduct, he was terminated, and deny the remaining allegations pled in paragraph 66 of the

Complaint.

                                                 67.

       Denied.

                                                 68.

       Denied.

                                                 69.

       Denied, including subparts (a) through (f).

                                                 70.

       Denied.

                                                 71.

       Denied.




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                                               72.

       Denied.

                                               73.

       Denied.

                                               74.

       Denied.

                                               75.

       Denied.

                                               76.

       The Fujitec Defendants admit that Fujitec America completed a complete and thorough

investigation, and deny the remaining allegations pled in paragraph 76 of the Complaint.

                                               77.

       Denied.

                                               78.

       Denied.

                                               79.

       The Fujitec Defendants are without knowledge or information as to Plaintiff’s knowledge

of his own violation of work rules, and deny the remaining allegations pled in paragraph 79 of the

Complaint.

                                               80.

       Denied.




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                                               81.

       Denied.

                                               82.

       The Fujitec Defendants show that Fujitec America’s policy speaks for itself and the

allegations therefore require no response, and therefore deny the allegations pled in paragraph 82

of the Complaint

                                               83.

       The Fujitec Defendants show that Fujitec America’s policy speaks for itself and the

allegations therefore require no response, and therefore deny the allegations pled in paragraph 83

of the Complaint.

                                               84.

       The Fujitec Defendants show that Fujitec America’s policy speaks for itself and the

allegations therefore require no response, and therefore deny the allegations pled in paragraph 84

of the Complaint.

                                               85.

       The Fujitec Defendants admit that Plaintiff submitted an appeal to his termination, that the

appeal was reviewed, and that his termination was upheld, and deny the remaining allegations pled

in paragraph 85 of the Complaint.

                                               86.

       Denied.

                                               87.

       Denied.



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                                                88.

        The Fujitec Defendants admit that Plaintiff submitted an appeal to his termination, that the

appeal was reviewed, and that his termination was upheld, and deny the remaining allegations pled

in paragraph 88 of the Complaint.

                                                89.

        Denied.

                                                90.

        Denied.

                                                91.

        Denied.

                                                92.

        Denied.

                                       COUNT II – Defamation

                                                991.

        The Fujitec Defendants incorporate their responses in paragraphs 1 through 98 of this

Answer as if fully set forth herein.

                                                100.

        The Fujitec Defendants show the allegations in paragraph 100 are not directed to them and

require no response, but to the extent a response is required, the Fujitec Defendants deny the

allegations pled in paragraph 100 of the Complaint.


1
 All factual allegations relating to paragraphs 93 through 99 are denied as though set forth fully
herein and denied, as the Fujitec Defendants have moved to dismiss Count I of the Complaint in a
Motion filed simultaneously with this Answer.


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                                                101.

        The Fujitec Defendants show the allegations in paragraph 101 are not directed to them and

require no response, but to the extent a response is required, the Fujitec Defendants deny the

allegations pled in paragraph 101 of the Complaint.

                                                102.

        Denied.

                                                103.

        Denied.

                                                104.

        Denied.

                               COUNT VI – Promissory Estoppel

                                               1462.

        The Fujitec Defendants incorporate their responses in paragraphs 1 through 145 of this

Answer as if fully set forth herein.

                                                147.

        Denied.

                                                148.

        Denied.

                                                149.

        Denied.


2
  All factual allegations relating to paragraphs 105 through 145 are denied as though set forth fully
herein and denied, as the Fujitec Defendants have moved to dismiss Counts III - V of the Complaint
in a Motion filed simultaneously with this Answer.


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                                               150.

       Denied.

                                       COUNT VII – Title VII

                                               151.

       The Fujitec Defendants incorporate their responses in paragraphs 1 through 150 of this

Answer as if fully set forth herein.

                                               152.

       The Fujitec Defendants show that the number of individuals it employs fluctuates, admit

that Fujitec America, Inc. has employed around the number of employees pled, and denies the

remaining allegations pled in paragraph 152 of the Complaint.

                                               153.

       Denied.

                                               154.

       The Fujitec Defendants admit the allegations pled in paragraph 154 of the Complaint.

                                               155.

       Denied.

                                               156.

       Denied.

                                               157.

       Denied, including subparts (a) through (e).

                                               158.

       Denied.



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                             COUNT VIII – Retaliation (Title VII)

                                             159.

       The Fujitec Defendants incorporate their responses in paragraphs 1 through 158 of this

Answer as if fully set forth herein.

                                             160.

       Denied.

                                             161.

       Denied.

                                  COUNT IX – Discrimination

                                             162.

       The Fujitec Defendants incorporate their responses in paragraphs 1 through 161 of this

Answer as if fully set forth herein.

                                             163.

       The Fujitec Defendants admit the allegations pled in paragraph 163 of the Complaint.

                                             164.

       Denied.

                                             165.

       Denied.

                                             166.

       Denied.




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                                       COUNT X - Retaliation

                                                 167.

        The Fujitec Defendants incorporate their responses in paragraphs 1 through 166 of this

Answer as if fully set forth herein.

                                                 168.

        Denied.

                                                 169.

        Denied.

                                                 1703.

        The Fujitec Defendant deny that Plaintiff is entitled to any relief, including the relief sought

in subparts (1) through (15) immediately following the WHEREFORE paragraph in Plaintiff’s

Complaint.

                                                 171.

        Any allegations in the Complaint not heretofore answered, qualified, or denied are here

and now denied as though set forth specifically and denied.

        WHEREFORE, the Fujitec Defendants in the above-referenced civil action respectfully

request that this Court:

        1.      Dismiss with prejudice Plaintiff’s Complaint;

        2.      Award the Fujitec Defendants their reasonable attorney’s fees, costs, and expenses

pursuant to 42 U.S.C. § 1988 or otherwise; and


3
  All factual allegations relating to paragraphs 170 through 180 of the Complaint are denied as
though set forth fully herein and denied, as the Fujitec Defendants have moved to dismiss Count
XI of the Complaint in a Motion filed simultaneously with this Answer.


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       3.     Award any and all other relief to the Fujitec Defendants that this Court may deem

necessary and proper.

                                                     Respectfully submitted,

                                                     s/Martin B. Heller
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                                                     JonVieve D. Hill (GA Bar No. 907946)*
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                                                     Counsel for Defendants Fujitec America,
                                                     Inc., Fujitec Co., Ltd., and Gary Krupp




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                               CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing ANSWER

AND AFFIRMATIVE DEFENSES OF DEFENDANTS FUJITEC AMERICA, INC.,

FUJITEC CO., LTD AND GARY KRUPP upon all parties to this matter e-filing with the CM /

ECF system, which will automatically serve a copy on all counsel of record.

       This 22nd day of March 2021.

                                                      s/Martin B. Heller
                                                      Martin B. Heller (GA Bar No. 360538)*
                                                      *Admitted Pro Hac Vice
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